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 NOT FOR PUBLICATION
                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY
   SUNRISE PHARMACEUTICAL, INC.,                                  Civil Action No.: 2:17-cv-04074
                              Plaintiff,
          V.                                                        MEMORANDUM OPINION
   VISION PHARMA, LLC, et al.,                                          AND ORDER

                              Defendants.

CECCHI, District Judge.

        WHEREAS this matter comes before the Court on the motion of Defendants Vision

Pharma, LLC and Sander S. Busman (“Defendants”) to dismiss Plaintiff Sunrise Pharmaceutical,

Inc.’s (“Plaintiff’) amended complaint. (ECF No. 17); and

        WHEREAS pursuant to fed. R. Civ. P. 78(b), no oral argument was heard; and

        WHEREAS on April 10, 2013, Defendant Vision Pharma, LLC (“Vision”) filed a

complaint against Plaintiff in the Southern District of New York. (ECF No. 13      ¶ 27); and
        WHEREAS on July 16, 2013, Vision filed an amended complaint against Plaintiff, which

Vision voluntarily dismissed on August 5, 2013. (Id.       ¶J 33-34); and
        WHEREAS on the same day, Vision filed a complaint against Plaintiff in the District of

New Jersey (the “2013 Matter”), (Id.       ¶ 34),   “to avoid further motion practice on the issue of

personal jurisdiction over [Plaintiff] in New York.” (ECF No. 1$ at 11); and

        WHEREAS over four years afler Vision filed suit against Plaintiff in New York, nineteen

days afier the Court appointed a mediator in the 2013 Matter, and one day before the Court-ordered

mediation in the 2013 Matter, Plaintiff filed this separate action against Defendants with this Court.

(ECF No. 1; see also ECF No. 1$ at 1); and

       WHEREAS Plaintiffs complaint sets forth eight causes of action against Defendants,

alleging that Defendants violated the Lanham Act, the State of New Jersey’s unfair competition
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    laws, the Sherman Act, the Clayton Act, and the New Jersey Antitrust Act, as well as committed

    the common law torts of unfair competition, tortious interference with prospective economic

    relations, and trade libel, by Vision filing its complaints against Plaintiff, announcing such filings

    in a press release, and allegedly “verbally disseminat[ing]    .   .   .   false statements to [Plaintiffs]

    customers and investors and prospective customers and investors.” (ECF No. 13             ¶J 64-170); and
           WHEREAS “[tb survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (quoting Bell At!. Corp. v. Twombly, 550 U.S. 544, 570 (2007)); and

           WHEREAS Defendants contend that Plaintiffs claims implicate Defendants’ first

Amendment rights under the Noerr-Pennington doctrine.’ Plaintiff responds that its claims are

not barred under the Noerr-Pennington doctrine because “the Noerr-Pennington Doctrine.. [does           .




not] immunize a party from initiating sham litigation and publicizing it to the public.” (ECF No.

26 at 12); and

           WHEREAS “the Noerr-Pennington doctrine protccts activities by parties to influence

government policy or legislation from antitrust claims and has since been extended to protect those



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   “Although originally developed in the antitrust context, courts have applied [the Noerr
Pennington] doctrine universally to business torts.” Arthrocare Corp. v. Smith & Nephew, Inc.,
No. 01-504, 2004 WL 896002, at *3 (D. Del. Mar. 10, 2004) (citing Cheminor Drugs, Ltd. v. Ethyl
 Corp., 168 F.3d 119, 128-29 (3d Cir. 1999) (applying the doctrine to common law claims of
malicious prosecution, tortious interference with contract, tortious interference with prospective
economic advantage, and unfair competition)). Moreover, courts have recognized “that the Noerr
doctrine applies to Lanham Act violations,” “state law unfair competition claims,” and claims for
trade libel. Power Survey, LLC v. Premier Util. Servs., LLC, No. 13-5670, 2015 WL 12839492,
at *2 n. 1 (D.N.J. Mar. 6, 2015); OG Int’l, Ltd. v. Ubisoft Entm ‘t, No. 11-4980, 2012 WL 4809174,
at *3 (N.D. Cal. Oct. 9, 2012). Accordingly, the Court finds that Defendants’ defense under the
Noerr-Fennington doctrine applies to all of Plaintiffs claims. (See ECF No. 13
                                                                                         ¶ 64-170
(asserting claims under the Lanham Act, New Jersey State’s unfair competition laws, and federal
and state antitrust laws, and alleging violations of the common law torts of unfair competition,
tortious interference with prospective economic relations, and trade libel)).
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    who petition for other forms of governmental action.” Power Survey, LLC v. Premier Util. Servs.,

 LLC, No. 13-5670, 2015 WL 12839492, at *2 (D.N.J. Mar. 6, 2015); and

           WHEREAS “the Noerr Court acknowledged that activity ‘ostensibly directed toward

 influencing governmental action’ would not be immune from liability if it constituted ‘a mere sham

 to cover what is actually nothing more than an attempt to interfere directly with the business

relationships of a competitor.” Id. (quoting E. R.R. Presidents Conference v. Noerr Motor

freight, Inc., 365 U.S. 127, 144 (1961)); and

           WHEREAS “to fall outside the Noerr-Pennington doctrine, a complaint must plead

sufficient facts to support a reasonable inference that: (1) the allegedly sham petition was

objectively baseless; and (2) the objectively baseless petition was the result of the litigant’s

subjective motivation to interfere directly with the business relationships of a competitor through

the use of the governmental process, as opposed to the outcome of that process.”2 Id.; and

          WHEREAS although “the question of whether litigation is a sham can be a fact question

for the jury    .   .   .   .   when ‘there is no dispute over the predicate facts of the underlying legal

proceeding, a court may decide probable cause [and thus Noerr-Pennington applicability] as a

matter of law.” Trustees of Univ. ofPa. v. St. Jude Children’s Research Hosp., 940 F. Supp. 2d



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  Plaintiffs argument that Vision has engaged in a series of legal proceedings and therefore, that
a more stringent standard applies to the question of whether Vision’s complaints constitute “sham
litigation” is without merit. Filing an amended complaint, or voluntarily dismissing a complaint
to file a substantially similar complaint in another venue because of personal jurisdiction concerns,
does not constitute a “series of legal proceedings.” See, e.g., In re Wetibutrin XL Antitrust Litig.
Indirect Purchaser Class, 868 F.3d 132, 157 (3d Cir. 2017) (“The test for serial petitioning
announced in Hanover explicitly applies to ‘a series of legal proceedings’ or ‘a pattern of
petitioning[,]’ and two proceedings.. does not constitute a pattern.”) (citations omitted); ERBE
                                                 .



Electromedizin GmbH v. Canady Tech. LLC, 529 F. Supp. 2d 577, 589 (W.D. Pa. 2007) (finding
that one previous litigation and one previous arbitration did not “amount[] to ‘simultaneous and
voluminous,’ a ‘series of,’ or a ‘pattern of,’ legal proceedings”), aff’d sub nom. ERBE
Elektromedizin GmbHv. Canady Tech. LLC, 629 F.3d 1278 (Fed. Cir. 2010).
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 233, 242   (       .D. Pa. 2013) (quoting Prof’l Real Estate mv ‘rs, Inc. v. Columbia Pictures Indus., Inc.,

 508 U.S. 49, 63 (1993)); see also Power Survey, LLC, 2015 WL 12839492, at *2..3; and

        WHEREAS even accepting the facts as alleged in Plaintiffs complaint as true and giving

 such facts the benefit of all favorable inferences, Plaintiff has not pled any facts upon which it

 could be reasonably inferred that Defendants complaints were “objectively baseless;” and

        WHEREAS Plaintiff avers Vision instituted “frivolous and sham lawsuits” because Vision

“does not.      .    .   have standing to sue [Plaintiff]” and “is not a party to [a] contract [with Plaintiff].”

(ECF No. 13          ¶ 93, 95-96,     109-10, 125-26). Plaintiff also contends that Vision’s complaints were

“shams” for the same reasons as set forth in Plaintiffs motion to dismiss Vision’s complaint in the

2013 Matter, (Id. ¶37), because FDA warning letters are “merely advisory,” (Id.
                                                                                             ¶ 18), and because
Vision allegedly took a contrary position in another lawsuit. (Id.            ¶J 24-25);   and

        WHEREAS the Court recently found that Vision had standing to sue Plaintiff in the 2013

Matter and that Vision’s complaint stated a claim upon which relief may be granted for all counts

cxcept for violations of New Jersey’s Consumer Fraud Act, despite the contention that FDA

warning letters are “merely advisory.”                    See Opinion, Vision Pharma, LLC v. Sunrise

Pharmaceutical, Inc., No. 13-4692 (D.N.J. June 20, 2018), ECF No. 117. Moreover, the Court

does not find that Vision’s statements in its answer and counterclaim in a separate lawsuit render

Vision’s “pursuit of claims so baseless that no reasonable litigant could realistically expect to

secure favorable relief.” Prof’l Real Estate mv ‘rs, Inc., 508 U.S. at 62; and

       WHEREAS Plaintiffs remaining allegations that Vision engaged in “sham litigation” are

wholly conclusory, (see, e.g., ECF No. 13               ¶J 97,   111, 127 (“No reasonable litigant could have

expected to secure favorable relief on the merits, when Defendants have no evidence, facts, or

investigation to support its claims.”)), and therefore fail to overcome a motion to dismiss. See

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 Simo Prop. Grp., Inc. v. Palombaro, 682 F. Supp. 2d 508, 511 (W.D. Pa. 2010) (“Although we

 recoguize ‘sham litigation’ as a viable counterclaim in this instance, as it is plead, [defendant’s]

 ‘shai1 litigation’ counterclaim fails to provide enough factual allegations to meet the rigors of

 Two bly and its progeny. [Defendant] sets forth only blanket and conclusory statements regarding

both rongs of the ‘sham litigation’ exception.”); and

        WHEREAS Plaintiff therefore fails to plead “factual allegations to support an objective

dete   ination that [Defendants’] petition[s] ‘constitute[d] the pursuit of claims so baseless that no

reasonable litigant could realistically expect to secure favorable relief.”3 Power Survey, LLC,

2015    L 12839492, at *3 (citations omitted); and

        WHEREAS “Courts have generally applied the Noerr-Pennington Doctrine to.                .   .   press

releass unless the original petitioning conduct was baseless.”            Capital Health Sys., Inc. v.

Vezne aroglu, No. 15-8288, 2017 WL 751855, at *13 (D.N.J. Feb. 27, 2017), reconsideration

deniecf No. 15-8288, 2017 WL 3429349 (D.N.J. Aug. 9, 2017); see also PennPac Int’l, Inc. v.

Rotoncs Mfg., Inc., No. 99-2890, 2001 WL 569264, at *9 (E.D. Pa. May 25, 2001); and

        WHEREAS although Plaintiff alleges that “Defendants have made false and defamatory

statenents of fact regarding [Plaintiff] and [Plaintiff’s] products in a press release that it published

on PRNewswire,” (ECF No. 13       ¶J 65, 79; see also Id. ¶J 100,   152, 155, 165), as discussed above,

Plaintff does not plead facts that would support a reasonable inference that Vision’s complaints

were “objectively baseless” or “that no reasonable litigant could realistically expect success on the

merits” Prof’l Real Estate mv ‘rs, Inc., 508 U.S. at 60; and



  “The second, subjective prong for establishing the sham exception to Noerr-Pennington
immunity, comes into play only if the plaintiff first makes a showing satisfying the exception’s
objective prong,” Hanover 3201 Really, LLC v. Viii. Supermarkets, Inc., 806 F.3d 162, 198 (3d
Cir. 2015), which Plaintiff has not done here.
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        WHEREAS Plaintiffs allegations that, “[u]pon information and belief, Defendants also

have verbally disseminated their false statements to [Plaintiffs] customers and investors and

prospective customers and investors,” (ECF No. 13      ¶J 66,   80; see also Id.   ¶J 102,   138, 149, 153,

 155, 161), do not overcome a motion to dismiss because Plaintiff “does not include any facts that

would provide a reasonable basis for its ‘information and belief.” lB. Hunt Transp., Inc. v.

Liverpool Trucking Co., No. 11-1751, 2013 WL 3208586, at *3 (M.D. Pa. June 24, 2013) (citing

Shenango Inc. v. Am. Coat Sales Co., No. 06-149, 2007 WL 2310869, at *3 (W.D. Pa. Aug. 9,

2007) (granting a motion to dismiss where the complaint alleged various elements of the cause of

action “on information and belief’ but did not specify any facts that would have led to this

conclusion)); see also Advanced Oral Techs., L.L.C. v. Nutrex Research, Inc., No. 10-5303, 2011

WL 1080204, at *4 n.6 (D.N.J. Mar. 21, 2011) (“Allegations made upon information and belief—

which are little more than conjecture and wishful thinking—have little hope of salvaging an

otherwise defective complaint.”).

        Accordingly, IT IS on this   2o   day of    iO-                    ,   2018,

        ORDERED that Defendants’ motion to dismiss, ECF No. 17, is GRANTED;4 it is further

        ORDERED that to the extent the pleading deficiencies identified by the Court in this

Memorandum Opinion and Order can be cured by way of amendment, Plaintiff is GRANTED

thirty (30) days to file an amended pleading; and it is further

       ORDERED that the Clerk of Court shall ADMINISTRATIVELY TERMINATE this

case until Plaintiff complies with this Order and shall CLOSE the file.
                                                                                       (
                                                          CLAIRE C. CECCIII, U.S.DJ.


 Based on the foregoing, the Court need not address Defendants’ remaining arguments as to why
Plaintiffs amended complaint fails to state a claim upon which relief may be granted.
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